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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                           CASE NO. 18-61017-CIV-ALTONAGA/Seltzer

    FEDERAL TRADE COMMISSION,

           Plaintiff,
    v.

    POINTBREAK MEDIA, LLC, et al.,

          Defendants.
    __________________________________/

          STIPULATED ORDER OF PERMANENT INJUNCTION AND MONETARY
              JUDGMENT AS TO RELIEF DEFENDANT STEPHANIE WATT

           Plaintiff, the Federal Trade Commission (“FTC” or “Commission”), filed its First

    Amended Complaint for Permanent Injunction and Other Equitable Relief (“Complaint”)

    pursuant to Section 13(b) of the Federal Trade Commission Act (“FTC Act”), 15 U.S.C. § 53(b).

    The Commission and Relief Defendant Stephanie Watt stipulate to entry of this Stipulated Order

    of Permanent Injunction and Monetary Judgment (“Order”) to resolve all matters in dispute in

    this action between them.

           THEREFORE, IT IS ORDERED as follows:

                                               FINDINGS

           A.      This Court has jurisdiction over this matter.

           B.      The First Amended Complaint charges that the Defendants participated in

    deceptive acts or practices in violation of Section 5 of the FTC Act, 15 U.S.C. § 45, in the

    marketing and sale of Google “claiming and verification” and search engine optimization

    services.
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           C.      The First Amended Complaint also charges that Relief Defendant Stephanie Watt

    has received assets from the Defendants, that she has no legitimate claim to those assets, that

    such assets are subject to a constructive trust, and that she will be unjustly enriched if she is not

    required to disgorge the assets or the value thereof.

           D.      Relief Defendant Stephanie Watt neither admits nor denies any of the allegations

    in the First Amended Complaint, except as specifically stated in this Order. Only for purposes of

    this action, Relief Defendant Stephanie Watt admits the facts necessary to establish jurisdiction.

           E.      Relief Defendant Stephanie Watt waives any claim that she may have under the

    Equal Access to Justice Act, 28 U.S.C. § 2412, concerning the prosecution of this action through

    the date of this Order, and agrees to bear her own costs and attorney fees.

           F.      Relief Defendant Stephanie Watt and the Commission waive all rights to appeal

    or otherwise challenge or contest the validity of this Order.

                                              DEFINITIONS

           For purposes of this Order, the following definitions apply:

           A.      “Defendants” means all of the Individual Defendants and the Corporate

    Defendants, individually, collectively, or in any combination.

           B.      “Individual Defendants” means Dustin Pillonato; Justin Ramsey; Aaron Michael

    Jones, a/k/a Michael Aaron Jones and Mike Jones; Ricardo Diaz; Michael Pocker; Steffan

    Molina; Vincent Yates; and Daniel Carver, individually, collectively, or in any combination.

           C.      “Corporate Defendants” means Pointbreak Media, LLC, also d/b/a Point Break

    Media, Point Break Solutions, and Kivanni Marketing; DCP Marketing, LLC, also d/b/a Point

    Break; Modern Spotlight LLC; Modern Spotlight Group LLC, also d/b/a/ Modern Spotlight;

    Modern Internet Marketing LLC; Modern Source Media, LLC, also d/b/a Modern Source;



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    Perfect Image Online LLC; Allstar Data, LLC; National Business Listings, LLC; and Pinnacle

    Presence LLC; and their successors and assigns, individually, collectively, or in any

    combination.

           D.      “Settling Defendant” means Relief Defendant Stephanie Watt.

           E.      “Receiver” means Jonathan E. Perlman, Esq., whom the Court appointed as

    Receiver in Section XI of the Preliminary Injunction as to Defendants Dustin Pillonato; Justin

    Ramsey; Aaron Michael Jones; Michael Pocker; Pointbreak Media, LLC; DCP Marketing, LLC;

    Modern Spotlight LLC; Modern Spotlight Group LLC; Modern Internet Marketing LLC; and

    Modern Source Media, LLC (ECF No. 64); in Section XI of the Preliminary Injunction as to

    Defendants Steffan Molina and Perfect Image Online LLC (ECF No. 58); and in Section XI of

    the Preliminary Injunction as to Defendants Allstar Data, LLC; National Business Listings, LLC;

    Pinnacle Presence LLC; Vincent Yates; and Daniel Carver (ECF No. 169).

                                                ORDER

                                  I.      MONETARY JUDGMENT

           IT IS ORDERED that:

           A.      Judgment in the amount of sixty-two thousand and two-hundred seventy-nine

           Dollars ($62,279.00) is entered in favor of the Commission against Settling Defendant as

           equitable monetary relief.

           B.      Settling Defendant is ordered to pay to the Receiver twenty-thousand Dollars

           ($20,000.00). Such payment must be made within 7 days of entry of this Order by

           electronic fund transfer in accordance with instructions provided by a representative of

           the Receiver. Upon such payment, the remainder of the judgment is suspended, subject

           to the Subsections below.



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          C.     The Commission’s agreement to the suspension of part of the judgment is

          expressly premised upon the truthfulness, accuracy, and completeness of Settling

          Defendant’s sworn financial statements and related documents (collectively, “financial

          representations”) submitted to the Commission, namely:

                 1.      the Financial Statement of Stephanie Watt signed on August 30, 2018,

                 including all attachments and other documentation provided by Settling

                 Defendant’s counsel on September 18, 2018 with this Financial Statement;

                 2.      the Declaration of Stephanie Watt signed on September 24, 2018;

                 3.      the information and documents submitted by Settling Defendant’s counsel

                 on November 6, 2018 to counsel for the Federal Trade Commission; and

                 4.      the information and documents submitted by Settling Defendant’s counsel

                 on December 4, 2018 to counsel for the Federal Trade Commission.

          D.     The suspension of the judgment will be lifted as to Settling Defendant if, upon

          motion by the Commission, the Court finds that Settling Defendant failed to disclose any

          material asset, materially misstated the value of any asset, or made any other material

          misstatement or omission in the financial representations identified above.

          E.     If the suspension of the judgment is lifted, the judgment becomes immediately

          due as to Settling Defendant in the amount specified in Subsection A above (which the

          parties stipulate only for purposes of this Section represents the unjust enrichment

          received by Settling Defendant, as alleged in the First Amended Complaint), less any

          payment previously made pursuant to this Section, plus interest computed from the date

          of entry of this Order.




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                        II.    ADDITIONAL MONETARY PROVISIONS

          IT IS FURTHER ORDERED that:

          A.     Settling Defendant relinquishes dominion and all legal and equitable right, title,

          and interest in all assets transferred pursuant to this Order and may not seek the return of

          any assets.

          B.     The facts alleged in the First Amended Complaint will be taken as true, without

          further proof, in any subsequent civil litigation by or on behalf of the Commission,

          including in a proceeding to enforce its rights to any payment or monetary judgment

          pursuant to this Order, such as a nondischargeability complaint in any bankruptcy case.

          C.     The facts alleged in the First Amended Complaint establish all elements necessary

          to sustain an action by the Commission pursuant to Section 523(a)(2)(A) of the

          Bankruptcy Code, 11 U.S.C. § 523(a)(2)(A), and this Order will have collateral estoppel

          effect for such purposes.

          D.     Settling Defendant acknowledges that her Taxpayer Identification Numbers

          (Social Security Numbers or Employer Identification Numbers), which Settling

          Defendant previously submitted to the Commission, may be used for collecting and

          reporting on any delinquent amount arising out of this Order, in accordance with 31

          U.S.C. § 7701.

          E.     All money paid to the Commission pursuant to this Order may be deposited into a

          fund administered by the Commission or its designee to be used for equitable relief,

          including consumer redress and any attendant expenses for the administration of any

          redress fund. If a representative of the Commission decides that direct redress to

          consumers is wholly or partially impracticable or money remains after redress is



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           completed, the Commission may apply any remaining money for such other equitable

           relief (including consumer information remedies) as it determines to be reasonably

           related to Defendants’ practices alleged in the First Amended Complaint. Any money not

           used for such equitable relief is to be deposited to the U.S. Treasury as disgorgement.

           Settling Defendant has no right to challenge any actions the Commission or its

           representatives may take pursuant to this Subsection.

                                  III.   LIFTING OF ASSET FREEZE

           IT IS FURTHER ORDERED that the freeze against the assets of Settling Defendant

    pursuant to the August 31, 2018 Stipulated Preliminary Injunction [ECF No. 170] is modified to

    permit the payment identified in the Monetary Judgment Section. Upon completion of that

    payment, the asset freeze is dissolved as to Settling Defendant only.

                                         IV.   COOPERATION

           IT IS FURTHER ORDERED that Settling Defendant must fully cooperate with

    representatives of the Commission and the Receiver in this case and in any investigation related

    to or associated with the transactions or the occurrences that are the subject of the First Amended

    Complaint in this matter. Settling Defendant must provide truthful and complete information,

    evidence, and testimony. Settling Defendant must appear for interviews, discovery, hearings,

    trials, and any other proceedings that a Commission representative or Receiver representative

    may reasonably request upon 14 days written notice, or other reasonable notice, at such places

    and times as a Commission representative or Receiver representative may designate, without the

    service of a subpoena. This section does not abrogate Settling Defendant’s right to assert any

    applicable legal privilege.




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                               V.      ORDER ACKNOWLEDGMENT

           IT IS FURTHER ORDERED that Settling Defendant, within 7 days of entry of this

    Order, must submit to the Commission an acknowledgment of receipt of this Order sworn under

    penalty of perjury.

                               VI.     REPORTING REQUIREMENTS

           IT IS FURTHER ORDERED that Settling Defendant make timely submissions to the

    Commission:

           A.      Settling Defendant must submit to the Commission notice of the filing of any

           bankruptcy petition, insolvency proceeding, or similar proceeding by or against Settling

           Defendant within 14 days of its filing.

           B.      Any submission to the Commission required by this Order to be sworn under

           penalty of perjury must be true and accurate and comply with 28 U.S.C. § 1746, such as

           by concluding: “I declare under penalty of perjury under the laws of the United States of

           America that the foregoing is true and correct. Executed on: _____” and supplying the

           date, signatory’s full name, title (if applicable), and signature.

           C.      Unless otherwise directed by a Commission representative in writing, all

           submissions to the Commission pursuant to this Order must be emailed to

           DEbrief@ftc.gov or sent by overnight courier (not the U.S. Postal Service) to: Associate

           Director for Enforcement, Bureau of Consumer Protection, Federal Trade Commission,

           600 Pennsylvania Avenue NW, Washington, DC 20580. The subject line must begin:

           FTC v. Stephanie Watt, X180031.




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                               VII.    COMPLIANCE MONITORING

           IT IS FURTHER ORDERED that, for the purpose of monitoring Settling Defendant’s

    compliance with this Order, including the financial representations upon which part of the

    judgment was suspended and any failure to transfer any assets as required by this Order:

           A.     Within 14 days of receipt of a written request from a representative of the

           Commission, Settling Defendant must: submit compliance reports or other requested

           information, which must be sworn under penalty of perjury; appear for depositions; and

           produce documents for inspection and copying. The Commission is also authorized to

           obtain discovery, without further leave of court, using any of the procedures prescribed

           by Federal Rules of Civil Procedure 29, 30 (including telephonic depositions), 31, 33, 34,

           36, 45, and 69. Notwithstanding the provisions of Local Rule 26.1(i), the Commission is

           not required to provide notice to Settling Defendant of, or make available for inspection

           by Settling Defendant, any objections, documents, electronically stored information, or

           things received in response to a subpoena.

           B.      For matters concerning this Order, the Commission is authorized to communicate

           directly with Settling Defendant. Settling Defendant must permit representatives of the

           Commission to interview any employee or other person affiliated with any Settling

           Defendant who has agreed to such an interview. The person interviewed may have

           counsel present.

           C.     The Commission may use all other lawful means, including posing, through its

           representatives as consumers, suppliers, or other individuals or entities, to Settling

           Defendant or any individual or entity affiliated with Settling Defendant, without the

           necessity of identification or prior notice. Nothing in this Order limits the Commission’s



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